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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

CHARLES F. WARNER, et al.,

                              Plaintiffs,
v.                                               Case No: CIV-14-665-F

KEVIN J. GROSS, et al.,

                              Defendants.


                          AGREED PROTECTIVE ORDER

        IT IS THEREFORE ORDERED AS FOLLOWS:

        1.     Unless otherwise ordered, none of the documents, materials, testimony

or information generated or produced during discovery in this action and designated

by any party or a non-party witness as “CONFIDENTIAL” shall be revealed or

disclosed, in whole or in part, or described, in whole or in part, to any person other

than:

        a.     the parties’ attorneys who are involved in the prosecution or defense of

               this action;

        b.     employees of such attorneys, who are involved in the prosecution or

               defense of this action;

        c.     expert witnesses who have been retained or consulted to assist in the

               prosecution or defense of this action; and
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       d.      the trial judge in this action, and administrative personnel of the trial

               judge’s office.

       2.      None of the documents, materials, testimony or information so

designated as “CONFIDENTIAL” shall be used by any recipient authorized in

subparagraphs (a)-(d) above for any purpose other than the prosecution or defense of

this action.

       3.      Documents, materials, testimony or information may be designated by

a party or a non-party witness as “CONFIDENTIAL” by a written notice to the

non-designating party or parties describing the designated documents, materials,

testimony or information. Alternatively, documents may be designated as

“CONFIDENTIAL” by marking a document with the notation “CONFIDENTIAL.”

Alternatively, information and testimony generated during depositions may be

designated as “CONFIDENTIAL” by the making of a statement on the record or

later transcript that confidential treatment under this Order is requested.

       4.      Documents, including transcripts, which have been designated as

“CONFIDENTIAL,”            or    which     contain    information     designated     as

“CONFIDENTIAL,” and which are filed with the Court, shall be filed in sealed

envelopes bearing the title of the case and the prominently displayed notation:

“CONFIDENTIAL: NOT TO BE OPENED EXCEPT BY COURT ORDER.”




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Such documents should not be filed via ECF systems, but should instead only be

filed as sealed documents.

      5.     Each     party    and    non-party     witness    will    designate    as

“CONFIDENTIAL” only those documents, materials, testimony and information

which they in good faith believe to be confidential, or which will cause a party or

person annoyance, embarrassment or oppression, within the meaning of Rule 26(c)

of the Federal Rules of Civil Procedure.

      6.     If either party believes that any document or item of information was

improperly designated as “CONFIDENTIAL,” that party may file a motion with

the Court, under seal, requesting that the seal be lifted with regard to any identified

testimony or exhibits and set forth the reasons that the matter is either not

“CONFIDENTIAL” or that it should be unsealed regardless of its status. The

requirement to file this motion to unseal does not alter the fact that it is the

designating party’s burden to establish the basis for the sealing of any documents

or testimony.

      7.     In the event that any entity or person subject to this Order receives a

subpoena, civil investigative demand or other process or request seeking disclosure

of any document or information designated as “CONFIDENTIAL,” such entity or

person shall serve immediate written notice of such request to all parties, together

with a copy of such process.


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      8.      Each recipient authorized by this Order, to whom “CONFIDENTIAL”

information, documents, materials or testimony has been disclosed, or is disclosed

pursuant to this Order, shall be advised that it is subject to the terms of an order of

the Court, and that the sanctions for any violation of this Order include the penalties

which may be imposed by the Court for contempt.

      9.      This Order shall not terminate upon termination of this litigation. Any

documents, transcripts or other materials produced by a party or non-party witness

and designated as “CONFIDENTIAL,” and all copies thereof, shall be returned to

the producing party when the case is closed and not subject to further review, as

determined by the Court.

      10.     The Clerk is directed to maintain under seal all pleadings, documents

and transcripts of testimony filed in Court in this action which have been designated,

in whole or in part, as “CONFIDENTIAL” pursuant to this Order, provided that any

such materials shall be lodged with the Clerk in a sealed envelope bearing a label

clearly disclosing that the enclosed materials have been designated as

“CONFIDENTIAL” and are filed under seal.

      11.     Plaintiffs (and any other individual who joins this case) are not to be

permitted to view photos, videos, or depictions of the execution chamber, or any of

the documents produced by Defendants or any of the transcripts generated during

discovery which may be designated as confidential. This Order does not preclude


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Plaintiffs from re-urging this matter as to any specific document. This Order also

does not preclude any Plaintiff (and any other individual who joins this case) from

having direct access to: (1) any healthcare records relating to that Plaintiff; and (2)

any non-confidential document that is filed with the Court in a manner making it

publicly available through the Court’s ECF system or information that is within the

public realm.

         14.      This Order shall not be modified except after notice and an opportunity

to be heard is accorded all parties, except that neither this paragraph, not anything

else in this Order, shall preclude the Court from making reference to confidential

information or materials in orders entered by the Court.

         Dated this 6th day of November, 2014.




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